casl 2b EP 2HBHO MER OLE a HBL eH? RHPA SBIPABED of 2

UNITED STATES Dist "2 COURT 7
for the ol / 7

District of Massachusetts

United States of America D CL [3

AQ 442 [kev TEL) Arrest Warram

 

v, ) Pn oy gen
} Case Nosh SI QOR
CHANTELLE BOYD ;
)
)
Dufendare

 

. a 4 : or a
ARREST WARRANT SE ALR >

‘To: Any authorized law enforcement afficer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fneae ofpersen te be arrested) = CHANTELLE BOYD
who is accised of an offense of violation based on the following. document filed with the court:

 

Indictment O Superseding Indittment Sinformation  €3 Superseding information © Complaint
Probation Violation Petition © Supervised Release Violation Petition J Violation Notice oF Order of the Court

“This offense is briefly described as follows:

Conspiracy in vialation of 18 USC 371
Thelt of Govérnmént Funds in violation of 18 USC 641
Making False Statements to a Grand Jury in violation eirenese 1623(a)

ENE!
gE EO

 

— ‘occ
Date: 25 V2 PO. gn RE court.
cuetintct eu ae

City indstate: Boston, MA’ agg

 

 

 

Return

 

This warrant was received on (dare) , tnd the person was arrested. on fduei

ait (City ced grote}

A beep de ik

Date: AA, Dh sce eveee seem eed cnaeen eee cnn eeneen cnn nceeenmnemenaeas sas cnvensnee rene ens seeeeeens saeneornue neared peannaneces paeeaemeaue
Srresting officer's signature

 

Printed name aed tile

 

 
